                Case 2:11-cv-02152-RRA Document 11 Filed 11/16/11 Page 1 of 2            FILED
                                                                                2011 Nov-16 PM 02:01
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA

BILL EDDINS,                                     )
                                                 )
                    Plaintiff,                   )
                                                 )
v.                                               )     CASE NO: 2:11-cv-2152
                                                 )
AMSHER COLLECTION SERVICES,                      )
                                                 )
                    Defendant.                   )
                                                 )

                                 NOTICE OF SETTLEMENT

            COME NOW the Defendant, AmSher Collection Services and the Plaintiff,

Bill Eddins, and respectfully provide notice that the parties have reached a

resolution of the disputes between them and request thirty (30) days to file a

Stipulation of Dismissal and other dismissal documents.

            Attorney Larry Young, Jr. certifies he has the express permission and

agreement of counsel for the Plaintiff to affix his respective electronic signature

hereon and further certifies the Parties have agreed to the terms and conditions of

this motion.

                                           Respectfully Submitted,

                                           /s/ Larry Young, Jr.
                                           Neal D. Moore, III
                                           Larry Young, Jr.
                                           Attorneys for Defendant AmSher Collection
                                           Services
                                           FERGUSON, FROST & DODSON, LLP

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                Case 2:11-cv-02152-RRA Document 11 Filed 11/16/11 Page 2 of 2




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